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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

  IN RE:                                                    Chapter 11

  AGWAY FARM & HOME SUPPLY, LLC,1 Case No. 22-10602 (JKS)

                            Debtor.                         Objection Deadline: July 27, 2022 at 4:00 p.m. (ET)
                                                            Hearing Date: August 3, 2022 at 2:00 p.m. (ET)

     NOTICE OF DEBTOR’S MOTION FOR AN ORDER APPROVING (1) KEY
   EMPLOYEE INCENTIVE PLAN; (2) KEY EMPLOYEE RETENTION PLAN, AND
                   (3) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE that on July 20, 2022, the above-captioned debtor and debtor
in possession (the “Debtor”) filed the Debtor’s Motion for an Order Approving (1) Key Employee
Incentive Plan; (2) Key Employee Retention Plan; and (3) Granting Related Relief (the “Motion”)
with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion must be in
writing, in conformity with the Federal Rules of Bankruptcy Procedure and the Local Rules of the
United States Bankruptcy Court for the District of Delaware, filed with the Bankruptcy Court and
served upon the undersigned counsel so as to be received on or before July 27, 2022 at 4:00 p.m.
(ET) (the “Objection Deadline”). At the same time, you must also serve a copy of the response
upon the Debtor’s proposed counsel:

 Jeffrey R. Waxman (DE Bar No. 4159)                  Alan J. Friedman (admitted pro hac vice)
 Brya M. Keilson (DE Bar No. 4643)                    Melissa Davis Lowe (admitted pro hac vice)
 MORRIS JAMES LLP                                     Max Casal (admitted pro hac vice)
 500 Delaware Avenue, Suite 1500                      SHULMAN BASTIAN FRIEDMAN & BUI LLP
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   1
     The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.



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        PLEASE TAKE FURTHER NOTICE THAT a hearing on the Motion is scheduled for
August 3, 2022 at 2:00 p.m. prevailing Eastern Time before the Honorable J. Kate Stickles,
United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th Floor,
Courtroom 6, Wilmington, Delaware 19801. Please note that due to COVID-19, and in accordance
with this Court’s Sixth Amended Order Governing The Conduct Of Hearings Due to Coronavirus
Disease 2019 (COVID-19) And Reconstituting Operations, the hearing shall be conducted
electronically.

     IF NO OBJECTIONS ARE TIMELY FILED, SERVED, AND RECEIVED IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN CONNECTION WITH SUCH PLEADINGS WITHOUT FURTHER
NOTICE OR HEARING.

   Dated: July 20, 2022                   MORRIS JAMES LLP
   Wilmington, Delaware
                                          /s/ Jeffrey R. Waxman
                                          Jeffrey R. Waxman (DE Bar No. 4159)
                                          Brya M. Keilson (DE Bar No. 4643)
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                                                   and

                                          SHULMAN BASTIAN FRIEDMAN & BUI LLP
                                          Alan J. Friedman (admitted pro hac vice)
                                          Melissa Davis Lowe (admitted pro hac vice)
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                                          Proposed Counsel to the Debtor and Debtor in
                                          Possession




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